           IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF OHIO
                     EASTERN DIVISION


 Nathan Roberts and Freedom Truck              Case No. 1:23-cv-01597
 Dispatch LLC, on behalf of themselves
 and all others similarly situated,

                       Plaintiffs,

 v.                                            Plaintiffs’ Class-Action Complaint
 Progressive Preferred Insurance
 Company; Progressive Casualty
 Insurance Company; Circular Board
 LLC,

                       Defendants.



      Progressive Preferred Insurance Company provides commercial insurance to
commercial trucking and delivery companies. It also engages in patently unlawful ra-
cial discrimination by offering a $25,000 “grant” to 10 “Black-owned small busi-
nesses to use toward the purchase of a commercial vehicle.” Progressive does not per-
mit non-black-owned small businesses to even apply for the grant. Plaintiffs Nathan
Roberts and Freedom Truck Dispatch bring suit to enjoin Progressive from continu-
ing these racially discriminatory practices and recover classwide damages on behalf of
everyone who has suffered unlawful racial discrimination on account of this program.

                        JURISDICTION AND VENUE
      1.   The Court has subject-matter jurisdiction under 28 U.S.C. § 1331 and 28
U.S.C. § 1343.




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    2.    Venue is proper because a substantial part of the events giving rise to the
claims occurred in this judicial district. See 28 U.S.C. § 1391(b)(2).

    3.    Because the plaintiffs reside in Cuyahoga County, assignment to the Eastern
Division is proper. See Local Civil Rule 3.8(c).

                                     PARTIES
    4.    Plaintiff Nathan Roberts is a citizen of Ohio who resides in Cuyahoga
County.

    5.    Plaintiff Freedom Truck Dispatch LLC is an Ohio limited-liability company
with its principal place of business in Cleveland, Ohio.
    6.    Defendant Progressive Preferred Insurance Company is a corporation orga-
nized under the laws of Ohio. It can be served at 4400 Easton Commons Way, Suite
125, Columbus, Ohio 43219.
    7.    Defendant Progressive Casualty Insurance Company is a corporation orga-
nized under the laws of Ohio. It can be served at 6300 Wilson Mills Road, Mayfield
Village, Ohio 44143.
    8.    Defendant Circular Board LLC is a limited liability company organized un-
der the laws of Delaware. Circular Board LLC operates Hello Alice, an online resource
platform that conspired and partnered with Progressive in administering these racially
discriminatory grants.

                           STATEMENT OF FACTS
    9.    Defendant Progressive Preferred Insurance Company provides commercial
insurance coverage to delivery trucking companies.
    10. Plaintiff Nathan Roberts, as sole owner and member of Freedom Truck Dis-
patch LLC, obtained a commercial policy from Progressive Preferred Insurance Com-
pany on October 17, 2022.




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    11. On May 24, 2023, Progressive Preferred Insurance Company emailed Mr.
Roberts about a grant opportunity for their commercial-trucking small-business own-

ers. See Exhibit 1. The grant was offered through defendant Progressive Casualty In-
surance Company, although the e-mail was sent by Progressive Preferred Insurance
Company. (We will refer to these defendants collectively as “Progressive.”)
    12. Progressive decided that only black-owned businesses would be eligible for
these grants. The email states:




    13. Progressive claims that only black-owned businesses should be eligible for
these grants because “studies have shown how inequities have made it harder for Black
entrepreneurs to access capital. This program aims to alleviate this challenge.” Exhibit

2; see also https://helloalice.com/grants/progressive (last visited on August 16,
2023) [https://perma.cc/65S7-7W6V].

    14. Grant recipients must use the money toward the purchase of a commercial
vehicle and must “have a clear plan for growth as a result of this vehicle purchase.”
Exhibit 3; see also bit.ly/3YDOGwg (last visited on August 16, 2023). This makes the
grant into a contract supported by mutuality of obligation and consideration.
    15. Progressive’s grant program therefore discriminates against non-black-
owned businesses in violation of 42 U.S.C. § 1981.
    16. Hello Alice, an online resource platform operated by defendant Circular
Board LLC, partnered and conspired with Progressive to violate 42 U.S.C. § 1981




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with this racially discriminatory grantmaking. See Exhibit 3; Exhibit 4. Hello Alice
also partners and conspires with other entities to violate 42 U.S.C. § 1981. See Exhib-

its 5–7.

                     FACTS RELATED TO STANDING
    17. After receiving the email attached as Exhibit 1, Nathan Roberts did not
realize the grant was available only for black-owned small businesses.
    18. Nathan Roberts opened the application and began filling it out.

    19. Eventually, he came to a part of the application that made clear that the
grants were available only to black-owned businesses, so he closed the application and
did not apply because he is white and his business is white-owned.
    20. Nathan Roberts, on behalf of himself and Freedom Truck Dispatch LLC,
wishes to apply for the grant and is “able and ready to apply.” See Carney v. Adams,
141 S. Ct. 493, 499–500 (2020); Gratz v. Bollinger, 539 U.S. 244, 261 (2003).
    21. Mr. Roberts is white and therefore ineligible for the $25,000 grant that Pro-
gressive will award to black-owned small businesses.
    22. Mr. Roberts is suffering past and future injury in fact because he was barred
from applying for this grant, and he cannot apply to become a grant recipient without
subjecting himself to racial discrimination.
    23. Mr. Roberts cannot apply for the grant until Progressive and Circular Board
LLC eliminate this racially discriminatory requirement.
    24. Mr. Roberts’s injuries are traceable to the allegedly unlawful behavior of Pro-
gressive and Circular Board LLC, who are operating a racially discriminatory grant
program, and those injuries will be redressed by the damages and prospective relief
sought in this lawsuit.
    25. Mr. Roberts seeks to represent a class of all individuals who were or are “able
and ready” to apply to Progressive’s “Driving Small Business Forward” grant program




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and have been or would be subjected to racial discrimination on account of the de-
fendants’ behavior.

                            CLASS ALLEGATIONS
    26. Mr. Roberts brings this class action under Fed. R. Civ. P. 23(b)(1)(A),
(b)(1)(B), (b)(2), and (b)(3). The class includes all individuals who were or are “able
and ready” to apply to Progressive’s “Driving Small Business Forward” grant pro-
gram, and have been or would be subjected to adverse racial discrimination on ac-

count of the defendants’ behavior. The class includes everyone who has ever fallen
within this definition, including anyone who comes within the class definition at any
time before the conclusion of this action.
    27. The number of persons in the class makes joinder of the individual class
members impractical. The plaintiffs estimate that the class members number in the
hundreds.
    28. There are questions of fact and law common to all class members. Factually,
all class members are potential applicants to Progressive’s “Driving Small Business
Forward” grant program who have been or would subjected to adverse racial discrim-
ination. Legally, federal civil-rights laws, including 42 U.S.C. § 1981, afford the same
rights to every member of the class.
    29. Mr. Roberts’s claims are typical of other class members, as each class member
has been subjected to racial discrimination in violation of 42 U.S.C. § 1981.
    30. Mr. Roberts adequately represents the interests of his fellow class members,
and he has no interests antagonistic to the class.
    31. A class action can be maintained under Rule 23(b)(1)(A) because separate
actions by class members risks inconsistent adjudications on the underlying legal issues.
    32. A class action can be maintained under Rule 23(b)(1)(B) because an adju-
dication determining the legality of Progressive’s “Driving Small Business Forward”




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grant program under 42 U.S.C. § 1981 will, as a practical matter, be dispositive of the
interests of all class members.

    33. A class action can be maintained under Rule 23(b)(2) because the defend-
ants have acted on grounds that apply generally to the class, so that final injunctive
relief or corresponding declaratory relief is appropriate respecting the class as a whole.
    34. A class action can be maintained under Rule 23(b)(3) because the common
questions of law and fact identified in the complaint predominate over any questions
affecting only individual class members. A class action is superior to other available
methods for the fair and efficient adjudication of the controversy because all class
members are subjected to the same violation of their federal rights, and the amount
of money involved in each individual’s claim would make it burdensome for class
members to maintain separate actions.

                                  CAUSE OF ACTION
    35. 42 U.S.C. § 1981 prohibits Progressive from engaging in racial discrimina-
tion in the making and enforcement of contracts.
    36. Progressive has violated and is violating 42 U.S.C. § 1981 by awarding
$25,000 grants to black-owned small businesses, while withholding this benefit from
all other races.
    37. Hello Alice has violated and is violating 42 U.S.C. § 1981 by conspiring and
partnering with Progressive in administering these racially discriminatory grants and
withholding these grants from non-black-owned businesses.
    38. 42 U.S.C. § 1981 provides Mr. Roberts with a private right of action to sue
for both damages and prospective relief. See Johnson v. Railway Express Agency, Inc.,
421 U.S. 454, 459–60 (1975).

                             DEMAND FOR RELIEF
    39. Mr. Roberts respectfully requests that the court:




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        a.     certify the class described in paragraphs 25 and 26;
        b.     declare that Progressive is violating 42 U.S.C. § 1981 by excluding all

               races from the $25,000 grant that it provides to black-owned small
               businesses;
        c.     enjoin Progressive from discriminating against or giving preferential
               treatment to any person or entity on account of race;
        d.     award nominal, compensatory, and punitive damages against each of
               the defendants;
        e.     award costs and attorney’s fees; and
        f.     award all other relief that the Court deems just, proper, or equitable.

                                             Respectfully submitted.

                                              /s/ Joseph P. Ashbrook
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Dated: August 16, 2023                       the Proposed Class




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